Case 8:18-cv-02295-JVS-ADS Document 52 Filed 11/06/19 Page 1 of 2 Page ID #:262



  1   Joseph S. Davidson, Pro Hac Vice (Ill. Bar No. 6301581)
      SULAIMAN LAW GROUP, LTD.
  2   2500 South Highland Avenue
  3   Suite 200
      Lombard, Illinois 60148
  4   +1 630-581-5450
      jdavidson@sulaimanlaw.com
  5
      Nicholas M. Wajda (Cal. Bar No. 259178 )
  6   WAJDA LAW GROUP, APC
  7   11400 West Olympic Boulevard
      Suite 200M
  8   Los Angeles, California 90064
      +1 310-997-0471
  9   nick@wajdalawgroup.com
 10
      Attorneys for the Plaintiff
 11
                                     UNITED STATES DISTRICT COURT
 12                                 CENTRAL DISTRICT OF CALIFORNIA

 13                                                      Case No. 8:18-cv-02295-JVS-ADS
 14
                                                         ORDER
       TIFFANY COLEMAN,
 15

 16                       Plaintiff,

 17            v.

 18    AMERICAN HONDA FINANCE
       CORPORATION,
 19
                          Defendant.
 20

 21

 22

 23

 24

 25

 26

 27

 28
                                                     1
Case 8:18-cv-02295-JVS-ADS Document 52 Filed 11/06/19 Page 2 of 2 Page ID #:263



  1         Counsel for Plaintiff, TIFFANY COLEMAN, and Defendant, AMERICAN HONDA
  2   FINANCE CORPORATION having filed with this Court their Joint Stipulation for Dismissal with
  3
      Prejudice and the Court having reviewed same, hereby ORDERED.
  4
            1. Defendant, AMERICAN HONDA FINANCE CORPORATION, is hereby dismissed
  5
                with prejudice.
  6

  7

  8   Dated: November 06, 2019
                                               _________________________________
  9                                            James V Selna
                                               Judge, U.S. District Court
 10

 11

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28
                                                   2
